Case 8:10-cr-00258-SDM-UAM Document 196 Filed 10/02/12 Page 1 of 6 PageID 749


                            UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION




UNITED STATES OF AMERICA,



vs.                                                     CASE NO. 8:10-cr-258-T-17MAP



JOHN W. LEBRON,
CYNTHIA LEBRON,
PATRICIA LEBRON, and
PAUL GOGOLEWSKI.




                                              ORDER


        This cause comes before the Court on the government's ore tenus motion to renew its

prior motion in limine regarding the admissibility of certain business records1 and on Defendant

John W. Lcbron's ore tenus motion to compel production of allegedly undisclosed records in the

 possession of the United States and their investigative agencies.2 Having heard argument of




         'On September 26, 20122, the government filed its Motion in Limine for Pre-Trial
Determination of the Applicability of Fed. R. Evid. 803(6) and 902(11) and, thus, Admissibility of
Records of Regularly Conducted Activity. See Dkt. 113. The motion was referred to Magistrate
Judge Pizzo. Judge Pizzo found the motion moot, instead construing the motion as a notice of intent
to rely on declarations for authenticating documents pursuant to Federal Rule of Evidence 902(11).
See Dkt. 146, p. 3. The government, having not received a ruling on the matter, renewed its motion
 in open court on October 1, 2012.

        2InDefendant'sLimitedResponse toGovernment'sAmendedMotionin Limine, ratherthan
in a separate request for relief, Defendant sought the production of"any and all 'Brady' material that
the Government may possess concerning the so-called 'custodians of records' [referring to the Rule
902(11) declarants]." See Dkt. 129, p. 4. In response to questioning by the Court, Defendant John
W. Lebron renewed this request in open court on October 1,2012. Defendants Patricia Lebron and
Paul Gogolewski joined in the motion.
Case 8:10-cr-00258-SDM-UAM Document 196 Filed 10/02/12 Page 2 of 6 PageID 750


counsel, the Court grants the government's motion in limine and denies the Defendant John W.

Lcbron's motion to compel.

                                            DISCUSSION


                                                  A.


        Defendant is facing seven mortgage fraud related charges for allegedly providing false

statements to financial institutions related to mortgage loan applications. The nature of these

offenses demand a weighty reliance on business records, such as bank records, lender files, title

files, and employer files. The government filed its notice of intent to rely on declarations to

admit these business records into evidence and the Defendant objects. See Dkt. 113, 129. The

Defendant objects to the introduction of these records on the grounds that some of the documents

are forgeries or computer generated signatures and, as a result, the documents lack

trustworthiness.


        A party can introduce business records by way of declaration so long as: (1) it provides

notice in advance of trial of its intent to do so; and (2) it makes the records and declaration

available for inspection. United Slates v. Lezcano, 296 Fed. App'x 800 (11th Cir. 2008). There

 is no dispute the government did both in this instance. Defendant's position is that the originals,

 not just the duplicate copies, must be made available in order to test the authenticity of his

 signatures on several of the documents. To that end, Defendant filed an affidavit questioning the

 authenticity of some but not all of the documents in question. See Dkt. 129, Exhibit 1. "A

 duplicate is admissible to the same extent as the original unless a genuine issue is raised about

 the original's authenticity or the circumstances make it unfair to admit the duplicate." Rule

 1003, Fed. R. Evid. Defendant's unspecified and generalized statement that some of the

 documents he reviewed contain "either forged, computer generated/transposed or photocopied

 copies of [his] signature" is simply insufficient to raise a genuine issue of the original's
Case 8:10-cr-00258-SDM-UAM Document 196 Filed 10/02/12 Page 3 of 6 PageID 751


authenticity. See Dkt. 129, Exhibit 1, at \ 4. These conclusory allegations are without sufficient

factual support to raise a genuine question as to the trustworthiness of the documents. See, e.g.,

UnitedStates v. Lock, 411 Fed. App'x 5, 7 (7th Cir. 2010) ("Given the lack of factual support for

these claims, the district court did not abuse its discretion in rejecting them."). Accordingly, the

Court grants the government's motion in limine.

                                                 B.


       The next order of business is Defendant's request for Brady information that is being

allegedly withheld by the government. Specifically, Defendant argues the government is

required to provide to the defense all records in the possession of the United States and its

investigative agencies relating to any "fraud related" investigations of, at a minimum, Bank of

America, Citibank, N.A., and World Savings Bank, F.S.B. (now Wells Fargo Bank, N.A.) (the

"Lenders"). Dkt. 176, p. 4. This information must be turned over because, according to

Defendant, these Lenders are currently in settlement negotiations with various state attorney's

general to settle claims of mishandling mortgage applications and loan processing services.

Other than the fact these three Lenders provided Defendant with loans in this case, Defendant

was not able to provide the Court with any concrete information about any particular "fraud

related" investigation. Instead, Defendant maintains the position that the record custodians of

these Lenders are "robo signers" of thousands of documents for their respective entities and the

jury should be made aware of the government's investigation of these practices. The Court

 understands Defendant to be seeking not exculpatory evidence, but impeachment evidence to cast

doubt on the credibility of the Lender's business practices in general.

        "The suppression by the prosecution of evidence favorable to an accused upon request

violates due process where the evidence is material either to guilt or to punishment, irrespective

of the good faith or bad faith of the prosecution. " Brady v. Maryland, 373 U.S. 83, 87 (1963).
Case 8:10-cr-00258-SDM-UAM Document 196 Filed 10/02/12 Page 4 of 6 PageID 752


"Evidence is material 'if there is a reasonable probability that, had the evidence been disclosed to

the defense, the result of the proceeding would have been different.'" United States v. Rafferty,

296 Fed. App'x 788, 795 (11th Cir. 2008) (quoting Grossman v. McDonough, 466 F.3d 1325,

1341-42 (11th Cir. 2006)). "Where, as here, the defendant only makes a general request for

exculpatory material under Brady, the government decides which information must be

disclosed." United States v. Jordan, 316 F.3d 1215, 1252, at n. 81 (11th Cir. 2003) (citing

Pennsylvania v. Ritchie, 480 U.S. 39, 59 (1987)). "[M]ere speculation or allegations that the

prosecution possesses exculpatory information will not suffice to prove 'materiality.'" Id. (citing

United Stales v. Ramos, 27 F.3d 65, 71 (3d Cir. 1994)). "Indeed, a defendant's right to discover

exculpatory evidence does not include the unsupervised right to search through the government's

files, nor does the right require the prosecution to deliver its entire file to the defense." Id.

(internal citations omitted).

        Pragmatically, the Court cannot (as it ordinarily would) focus on the materiality of the

specific evidence to determine whether it needs to be disclosed. That approach is stymied by the

practical matter that Defendant does not identify any specific investigation or report relating to

any particular financial institution. Rather, Defendant argues he is entitled to any and all

information relating to any federal or state investigation of the institutional business practices of

all the financial institutions with which the Defendant had dealings in this matter. In other

words, the Defendant's position is that the government has an affirmative obligation to produce

 investigations or other reports relating to the conduct of a financial institution irrespective of

 whether any individual actor within the institution is involved in the prosecution of the present

defendant. As the government noted during the hearing, such a request is appropriately coined an

"institutional Brady request" as it focuses on the institution - not the individuals testifying.
Case 8:10-cr-00258-SDM-UAM Document 196 Filed 10/02/12 Page 5 of 6 PageID 753


        The Court notes a dearth of case law addressing this particular issue. Defendant's citation

to Youngblood v. West Virginia, 547 U.S. 867 (2006) is misplaced. Indeed, there is nothing in

 Youngblood to suggest the expansion of Brady to include evidence related to an investigation of

an institution, as opposed to an individual who testifies adverse to a defendant. To the contrary,

in Crowe v. Hall, 490 F.3d 840 (11th Cir. 2007), the Eleventh Circuit held that an investigation

unrelated to the testimony of the witnesses was not Brady material and, therefore, its absence

from the trial "cannot reasonably be taken to put the whole case in such a different light as to

undermine confidence in the verdict." (internal citations omitted).

        The Court agrees that the government must turn over all material to the extent

 Defendant's request is read narrowly to seek only exculpatory material or impeachment material

relating to the declarants at issue in this case. The government represented at the hearing that all

such material (if it exists) has been produced. To require the government to sift through the files

of all law enforcement agencies investigating these Lenders, however, would forge well beyond

even the most liberal reading of Brady and its progeny. That much seems clear even after

examining Justice Stevens's particularly apt description of the prosecutor's dual role: "For

 though the attorney for the sovereign must prosecute the accused with earnestness and vigor, he

 must always been faithful to his client's overriding interest that 'justice shall be done.' He is the

 'servant of the law, the twofold aim of which is that guilt shall not escape or innocence suffer.'"

 UnitedStates v. Agurs, All U.S. 97, 100-01 (1976). Although this prosecutorial dichotomy

 places a heavy burden on prosecutors to ensure justice is done, it is the view of this Court that

justice does not demand that prosecutors open the door for defendants to search the investigative

 files of any institution simply because it may have provided a loan to the defendant.

 Accordingly, it is

        ORDERED that the government's ore tenus motion to renew it prior motion in limine
Case 8:10-cr-00258-SDM-UAM Document 196 Filed 10/02/12 Page 6 of 6 PageID 754


regarding the admissibility of certain business records is GRANTED and Defendant John W.

Lebron's ore tenus motion to compel production of allegedly undisclosed records in the

possession of the United States and their investigative agencies is DENIED.

        DONE AND ORDERED in Chambers in Tampa, Florida th&$fcfey of October, 2012.




                                             ELIZAmmrarKWAQHEVieH
                                             United States District Judge


Copies furnished to: All Counsel of Record
